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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

In re:                                                     Case No. 3:16-bk-02230-PMG

RMS TITANIC, INC., et al.,                                           Chapter 11

                        Debtors.                               (Jointly Administered)

             RESPONSE OF THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS, THE TRUSTEES OF THE NATIONAL
MARITIME MUSEUM, THE BOARD OF TRUSTEES OF NATIONAL MUSEUMS AND
GALLERIES OF NORTHERN IRELAND, AND RUNNING SUBWAY PRODUCTIONS,
    LLC TO DEBTORS’ MOTION TO RECONSIDER THE COURT’S ORDER
         SCHEDULING A STATUS CONFERENCE ON JULY 25, 2018

         The Official Committee of Unsecured Creditors (“Creditors’ Committee”), the Trustees

of the National Maritime Museum, the Board of Trustees of National Museums and Galleries of

Northern Ireland, and Running Subway Productions, LLC (“Running Subway”) (collectively,

the “Parties”) respectfully state as follows:

         1.      By their motion (Docket No. 1114) (“Motion”), Debtors RMS Titanic, Inc. and

its affiliates (collectively, “Debtors”) ask this Court to cancel the status conference currently

scheduled for July 25, 2018 and instead to proceed in approving Debtors’ proposed sale of

substantially all of their assets (the “Sale”) to Premier Acquisition Holdings LLC (the “Stalking

Horse Purchaser”). In support, Debtors raise a wide range of issues that are hotly contested

among the various stakeholders in these Chapter 11 cases. Underlying these issues, however, are

at least two obvious facts that Debtors cannot contest.

         2.      First, there is no question that the stakeholders have before them three competing

options for how best to distribute value to creditors and ultimately resolve these Chapter 11

cases: (i) the Sale pursuant to Section 363, (ii) the Chapter 11 plan proposed by the Parties

(the “Creditors’ Committee and Museum Plan”), and (iii) the Chapter 11 plan proposed by the
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Equity Committee.     Regardless of which option Debtors believe should ultimately prevail

(Motion ¶¶ 20-25), all stakeholders must have the chance to weigh their options in an open and

fair process. If the three proposals do not proceed on the same timeline, with coordinated

disclosures, stakeholders will be deprived of that opportunity.

       3.       Second, there are two courts with competing jurisdiction over Debtors’ assets:

this Court and the Eastern District of Virginia (the “Admiralty Court”). Regardless of Debtors’

views on the Admiralty Court’s specific role in approving the sale or plan (see Motion ¶¶ 36-52),

the Admiralty Court has jurisdiction over the Titanic artifacts and the interpretation of the court-

imposed covenants and conditions (the “Covenants and Conditions”), reported at 742 F. Supp.

2d 784, 809-24 (E.D. Va. 2010), that, among other things, sets out Debtors’ ownership interest in

and obligation with respect to the Titanic artifacts. (See § VIII(B) (“Any controversy or claim

arising out of or relating to these Covenants and Conditions shall be within the primary

competence of the [Admiralty Court].”) As has long been recognized by this Court and Debtors,

the Admiralty Court clearly has a role to play with respect to the Titanic artifacts. Indeed,

Debtors appear to acknowledge this fact by requesting a conference on the Sale before the

Admiralty Court. See Memorandum in Support of Plaintiffs’ Motion to Approve Asset Purchase

Agreement and Authorize the Sale of 100% of RMST’s Stock to Premier Acquisition Holdings

LLC or Other Qualified Purchaser as Approved by the Bankruptcy Court, Case No. 93-00902

(Docket No. 449) (E.D. Va. June 29, 2018) (annexed to Docket No. 1118). Yet Debtors ask that

the Admiralty Court conference be held only after this Court enters an order approving the

process for the Sale. It is only prudent that this Court consider now whether to instead proceed

with a parallel process in order to minimize delay, cost, motion practice, and uncertainty.

       4.      In asking the Court to overlook these substantive and procedural issues, Debtors

speculate that any delay in obtaining Sale approval will determine “the fate of the Debtors’

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business.” (Motion at 2.) But Debtors offer no evidence that such a doomsday scenario is likely

to unfold. The Stalking Horse Purchaser has been active in these Chapter 11 cases and Debtors

offer no reason to believe that the Stalking Horse Purchaser would suddenly terminate the Asset

Purchase Agreement if it is not approved on July 25. Debtors’ cries for an immediate sale are

even less compelling considering the Debtors’ failure to put forward a viable restructuring plan

during the more than two years that these cases have been pending, which failure Debtors should

not be permitted to rely on to advocate for a truncated process.

        5.       Put simply, Debtors’ true intentions are clear: they trying to push through their

preferred sale process before stakeholders have the chance to consider the Creditors’ Committee

and Museum Plan’s proposal. The Creditors’ Committee put forth the Creditors’ Committee and

Museum Plan because a sale of substantially all of Debtors’ assets for $19.2 million would yield

superior recoveries for unsecured creditors, relative to a sale at $17.5 million coupled with the

so-called PacBridge Parties Settlement (described in Motion n.6, save the portion of the

settlement that would result in allowance of PacBridge’s $1.2 million claim, which claim has

been objected to). 1 Stakeholders should be permitted to at least consider this proposal on a level

playing field with the Sale. Holding a status conference on July 25, 2018 is a logical first step


        1
            To the extent Debtors argue that the Creditors’ Committee is contravening its fiduciary duties by
supporting the Creditors’ Committee and Museum Plan, the Debtors are wholly misguided. (See Motion ¶¶ 21-22.)
Mr. Sanna, the principal of co-proponent Running Subway, did not participate in deliberations concerning, or vote
on the decision to support, the Creditors’ Committee and Museum Plan. Rather, that decision was made by the
Creditors’ Committee’s two other members, Ezra Jones and Thomas Braziel. If the Creditors’ Committee were
presented with a superior proposal pending a determination on the sale proposals before the Court, Mr. Sanna would
be excluded from deliberations concerning whether to terminate support for the Creditors’ Committee and Museum
Plan, and the Creditors’ Committee is expressly authorized to do so by the Plan Support Agreement with
authorization of just Messrs. Jones and Braziel. Notwithstanding that both the Debtors and Equity Committee were
well aware that Mr. Sanna is a member of the Creditors’ Committee, and that his membership on the committee is a
matter of public record (Docket No. 166), the Creditors’ Committee would happily provide further disclosure
concerning Mr. Sanna, his membership on the committee, his professional history in the exhibition industry, and his
prior collaborations with the Debtors.




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towards achieving such an orderly and fair process.

         6.       The Debtors also should not be permitted to take advantage of the fact that the

DIP loan is now fully drawn, and that the Debtors’ cash flow from operations is insufficient to

cover both operating costs and chapter 11 professional fees (the Debtors’ cash flow from

operations are positive), to preclude alternative proposals. As noted by Howard Siegel at the

June 7 hearing, the interim compensation order could be vacated or suspended, which if

implemented would relieve the Debtors from having to pay any professional fees pending entry

of an order granting an interim fee application, pursuant to Bankruptcy Code section 331.

Alternatively, payment of professional fees could simply be suspended, as proposed by the

Equity Committee. Neither proposal would solve the question of professional fee accrual, as

noted by the Debtors (Motion n.4); however, it would permit solicitation to proceed. 2




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           The fixation on accrual ignores that all estate professionals will ultimately need to justify the accrual of
millions of dollars in professional fees, on top of those paid from the $5 million DIP loan.



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       WHEREFORE, the Parties respectfully request that this Court deny Debtors’ motion to

reconsider the Court’s order scheduling a status conference on July 25, 2018.

Dated: July 18, 2018                        Respectfully submitted,

                                            /s/ Richard Thames

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                 CERTIFICATE OF ELECTRONIC FILING AND SERVICE

       I hereby certify that on July 18, 2018, a true and correct copy of the foregoing was served
via CM/ECF electronic transmission upon those parties who are registered with the Court to
receive electronic notifications in the matter.

Dated: July 18, 2018

                                                         /s/ Richard Thames
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